From: 10/17/2024 11:10 #185 P.0O14/016

EXHIBIT A

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

JOSE TORRES,
STIPULATION OF DISMISSAL
Plaintiff, WITH PREJUDICE
Vv.
WAGNER COLLEGE and FRANK CAFASSO Case No.: 1:24-CV-03179

Defendants.

WHEREAS, no party to this action is an infant, Plaintiff Jose Torres, and
Defendant Wagner College, by their respective attorneys, hereby stipulate and agree
pursuant to F.R.C.P. 41 to discontinue and dismiss the above-referenced action, with
prejudice, and without costs to any party.

Dated: October 8, 2024

FISHER TAUBENDELD LLP BOND, SCHOENECK & KING, PLLC
A
Raith
By: & By: / M
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Attorney for Plaintiff Attorney for Defendant Wagner College
SO ORDERED:

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